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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:08CR3059
     v.                              )
                                     )       ORDER
JAYRO A. FLORES and                  )
JULIO FLORES-ELENES,                 )
                                     )
     Defendants.


     IT IS ORDERED:

     1. An evidentiary hearing on defendants’ motions to
suppress evidence, filing 26 and filing 28, will be held before
the undersigned on July 18, 2008 beginning at 1:00 p.m. in
Courtroom #2, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Based on the
defendants’ request, the court has set aside four hours for this
hearing.

     2. The defendants, defendants’ counsel, and counsel for the
government shall be present at this hearing.

     3. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     4. As to all defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated June 9, 2008.

                                    BY THE COURT

                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
